Case 3:17-cv-00072-NKM-JCH Document 261-2 Filed 03/12/18 Page 1 of 3 Pageid#: 1742




                         Exhibit B
Case 3:17-cv-00072-NKM-JCH Document 261-2 Filed 03/12/18 Page 2 of 3 Pageid#: 1743
           UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA


Elizabeth Sines, et al.


                                           Plaintiff

                                                                 vs.              Case No: 3:17-cv-00072-NKM

Jason Kessler, et al.


                                          Defendant
                                               AFFIDAVIT OF SERVICE


I, Jacob Morrison, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Subpoena Duces Tecum with Attachments in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 01/26/2018 at 4:30 PM, I served David Duke with the Subpoena Duces Tecum with Attachments at 240 Garden Avenue,
Mandeville, Louisisana 70471, by serving David Duke, personally.

David Duke is described herein as:

Gender: Male    Race/Skin: White     Age: 50-60 Weight: 150       Height: 5'10"   Hair: Blonde Glasses: No




I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.




                                                                                                  ~
                                                                                      Ja~rrison
                                                               ~
 Executed On


                                                               ~
                                                                                                                       Client Ref Number:N/A
                                                                                                                           Job #: 1539236
               Capitol Process Services, Inc. I 1827 18th Street, NW, Washington, DC 20009 I (202) 667-0050
Case 3:17-cv-00072-NKM-JCH Document 261-2 Filed 03/12/18 Page 3 of 3 Pageid#: 1744



  AO 88B (Rev. 02/14) Subpoena to Produce Documents, lnfonnation, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                            Western District of Virginia                 liEi
                                                                                                         Ila
                       Elizabeth Sines, et al.
                                 Plaintiff
                                    v.                                                   Civil Action No. 3:17-cv-00072-NKM
                        Jason Kessler, et al.
                               Defendant

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CML ACTION

  To:                                          David Duke, 240 Garden Avenue, Mandeville, LA 70471
                                                         (Name ofperson to whom this subpoena is directed)

      ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: SEE ATIACHMENTS "A" AND "B"


   Place: Go Depo-New Orleans, 201 St. Charles                                           IDate and Time:                             J
              Ave_n_u_e._s_u_i1_e_2_so_o_. _N_e_w_o_r_Ie_a_
                                                          ns'._L_A_7_o~-~~-------~----February26,2018 ~--1-~~-°.~:~~~~~----
       D Inspection ofPremises: YOU ARE COMMANDED to pennit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party


                                                                                                     J
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  IPlace:                                                                               I:Date-a-rid Time:
                                                                                       j ___._______
          The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45{c), relating to the place of compliance;
  Rule 45(d}, relating to your protection as a person subject to a subpoena; and Rule 45( e) and (g), relating to your duty to
  respond to this subpoena and the potential consequences of not doing so.
  Date;   _J anu~ir_~4,   2018




  The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Plaintiffs
          _ _ _ _ _ - - - -- - - - - - - - --· ----·- , who issues or requests this subpoena, are:
 Robert T. Cahill (VSB 38562), Cooley LLP, 11951 Freedom Dr., 14th Floor, Reston, VA 20190, (703) 456-8000, rcahill@cooley.com

                              Notice to the person who Issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored infonnation, or tangible things or the
  inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
  it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a}(4).
